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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION




 ANTHONY NOVAK,                                     )    CASE NO. 1:17-CV-2148
                                                    )
                   Plaintiff,                       )    JUDGE DAN AARON POLSTER
                                                    )
           vs.                                      )    OPINION AND ORDER
                                                    )
 THE CITY OF PARMA, et al.,                         )
                                                    )
                   Defendants.                      )

           Plaintiff Anthony Novak filed this civil rights action against the City of Parma (the

 “City”), Parma police officers Kevin Riley and Thomas Connor (“the Officer Defendants”), and

 John Doe, a law enforcement official and member of the Ohio Internet Crimes Against Children

 Task Force (collectively, the “Defendants”) on October 10, 2017. Doc #: 1.1 He filed his First

 Amended Complaint on October 18, 2017. Doc #: 6.2 Before the Court are two motions: the

 City and the Officer Defendants each filed a Motion to Dismiss for Failure to State a Claim on

 January 15, 2018. Doc #: 12, 13. Plaintiff filed his Responses to the Motions on February 28,

 2018. Doc #: 15, 16. The Defendants filed Replies on March 28, 2018. Doc #: 17, 18.


 1
  Plaintiff previously filed this action on September 19, 2016 but it was later dismissed without
 prejudice on January 25, 2017. See Novak v. City of Parma, et al., 1:16-cv-2335.
 2
     All citations are to the First Amended Complaint, Doc #: 6.
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        For the following reasons, the Motions are GRANTED in part and DENIED in part.

 Plaintiff’s Claims 10 (Property Retention) and 29 (Replevin) are DISMISSED WITH

 PREJUDICE. Claims 17 (Unconstitutionally Vague and Overbroad) and 18 (Unconstitutional

 As Applied) are DISMISSED WITHOUT PREJUDICE. All remaining claims may proceed.

 I.     Facts

        On a motion to dismiss, the court construes all well-pleaded facts in the light most

 favorable to the plaintiff. Johansen v. Presley, 977 F. Supp. 2d 871, 876 (W.D. Tenn. 2013).

        A.      The Facebook Page

        On March 2, 2016, Plaintiff created a Facebook page (the “Facebook Page”) to criticize

 the Parma Police Department (the “Department”) by posting parodies of Department releases.

 Compl. ¶ 45. Specifically, he created the Facebook Page to anonymously voice his criticism and

 frustration on matters of public concern like the Department’s policing priorities, racial

 sensitivity, and respect for civil rights, among others. Compl. ¶ 49, 62. He posted six times to

 the Facebook Page during the 12 hours it remained online and attracted less than 100 followers.

 Compl. ¶¶ 45, 55. The six posts included ones such as:

        a.      An apology for neglecting to inform the public about an armed white male who
                robbed a Subway sandwich shop, requesting assistance identifying the “African
                American woman” loitering in front of the shop while it was robbed “so that she
                may be brought to justice.”

        b.      A “Food Drive to benefit teen abortions” at which officers “will be giving out free
                abortions to teens using an experimental technique discovered by the Parma
                Police Department” “in a police van in the parking lot at Giant Eagle.”

        c.      A “temporary law” introduced by the Department forbidding “residence [sic] of
                Parma from giving ANY HOMELESS person food, money or shelter in our city”
                as “an attempt to have the homeless population eventually leave our city due to
                starvation.”


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 Id. Unlike the Department’s official page, the Facebook Page displayed the logo “We no [sic]

 crime.” and was designated as a “community” fora instead of the official designations used in

 official police department pages. Compl. ¶ 46. Plaintiff’s Facebook Page also lacked the official

 Facebook verification feature. Compl. ¶ 47. This feature signals to a person visiting a Facebook

 page that the authenticity of the page has not been verified. Id. The Department’s official

 website links users directly to the Department’s official Facebook account. Id. The Department’s

 official Facebook account remained fully accessible on March 2, 2016. Compl. ¶ 62.

        The same day that Plaintiff posted the Facebook Page, the Department posted a notice on

 its official Facebook page warning the public about the Facebook Page and informing them that

 the Department was investigating it. Compl. ¶ 76. By the end of the day, the Department had

 deleted dozens of comments from users mocking the Department for its inability to take a joke.

 Compl. ¶¶ 77-78. During that time, the Department also issued a press release to news outlets

 announcing the criminal investigation. Compl. ¶ 92. Once Plaintiff became aware of the

 Department’s threats of criminal investigation, he took down the Facebook Page. Compl. ¶ 97.

        B.      The Investigation

        Based solely on the Facebook Page’s content, the Defendants took quick action to

 identify and punish its anonymous author. Compl. ¶ 64. Officer Riley opened a criminal

 investigation and assigned Officer Connor to the case, based on Officer Connor’s experience

 with child-pornography investigations.3 Compl. ¶ 69. Officer Riley believed that Officer Connor

 could leverage his experience combating child pornography to force Facebook to shut down the


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  No allegation has ever been made that anything posted on the Facebook Page constituted child
 pornography. Compl. ¶ 53.

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 Facebook Page. Compl. ¶ 70. Officer Connor spent two days monitoring Facebook and drafting

 a preliminary investigative report (the “Report”). Compl. ¶ 73. The Report contains no

 allegation or evidence that any police services were disrupted by the Facebook Page. Id. Officer

 Connor also sent a takedown notice to Facebook stating that the Facebook Page was under

 criminal investigation. Compl. ¶ 81.

        Next, Officer Connor contacted John Doe, an officer on the Ohio Internet Crimes Against

 Children Task Force, to obtain the non-public contact information for the Facebook employee

 responsible for shutting down accounts engaged in illegal activity like child pornography.

 Compl. ¶ 85. Officer Doe provided Officer Connor with this individual’s email address and

 Officer Connor promptly sent another takedown request. Compl. ¶¶ 86-87. Officer Connor also

 prepared and issued a subpoena to Facebook for the IP address of the Facebook Page’s author.

 Compl. ¶ 90. Officer Riley directed Officer Connor to prepare a search warrant and affidavit

 against Facebook under Ohio Rev. Code § 2909.04(B). Compl. ¶¶ 99-100. This statute

 criminalizes the use of the internet to “disrupt, interrupt, or impair the functions of” the police.

 Id. Neither the warrant nor the affidavit identified a single police function or service that was

 disrupted by Plaintiff’s Facebook Page. Compl. ¶ 102. Nor did they disclose that the Facebook

 Page was a parody. Id.

        On March 18, 2016, Officer Connor received nearly 3,000 pages of records from

 Facebook in response to his warrant. Compl. ¶ 103. These records identified Plaintiff as the

 author of the Facebook Page. Id. The Officer Defendants consulted the City’s law director and

 decided to pursue a criminal charges against Plaintiff. Compl. ¶ 104. The Complaint charging

 Plaintiff with a single felony count of violating § 2909.04(B) was filed that same day. Compl. ¶


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 105. Officer Connor then applied for and obtained an arrest warrant from a Parma Municipal

 Court magistrate. Compl. ¶ 107. The warrant application stated only that Plaintiff created a fake

 Facebook account, purporting to be a legitimate Department page. Id. It did not mention any

 disruption in police operations. Id. Plaintiff was arrested on March 25, 2016 and spent four days

 in Cuyahoga County jail. Compl. ¶ 108-09. When word got out of Plaintiff’s arrest, the public

 responded by flooding the Department’s official Facebook page with accusations that the

 Department violated Plaintiff’s First Amendment rights. Compl. ¶ 110-113.

        On March 25, 2016, the day of Plaintiff’s arrest, Officer Connor–under Officer Riley’s

 supervision–submitted a warrant application to search Plaintiff’s apartment. Compl. ¶ 116. The

 application was based solely on Officer Connor’s assertions that the Facebook Page’s fake posts

 were disrupting police functions. Id. The Officer Defendants had no evidence of any disruption

 in police services, nearly three weeks after Plaintiff took the Facebook Page down. Compl. ¶ 118.

 Officer Connor also included misrepresentations in his warrant affidavit including that Plaintiff

 purported to be a Department representative on the Facebook Page and altered or affected the

 Department’s official page. Compl. ¶ 119. The Parma Municipal Court signed the warrant.

 Compl. ¶ 121. The Department’s SWAT team executed the warrant on Plaintiff’s apartment, that

 same day. Compl. ¶ 122. The SWAT team seized every electronic device in Plaintiff’s residence

 including: two laptops, two hard drives, two videogaming consoles, a smartphone, a cell phone,

 and a computer tablet. Compl. ¶ 123. The Officer Defendants once again obtained and executed

 a warrant to search Plaintiff’s electronic devices, relying on the same misrepresentations as with

 the previous warrants. Compl. ¶ 127. Nothing incriminating was found. Compl. ¶ 131.




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        C.      The Prosecution

        A grand jury returned a one-count indictment against Plaintiff. Compl. ¶ 132. At trial,

 both Officer Defendants testified against Plaintiff. Compl. ¶¶ 141-44. Officer Riley testified that

 he sought to shut down the Facebook Page to address officer safety concerns at the two locations

 referenced in the Facebook Page posts (i.e., the Giant Eagle where officers were performing free

 teen abortions using experimental techniques). Compl. ¶ 143. None of the warrants, subpoenas,

 or charging documents reflected any officer safety concerns. Compl. ¶ 144. The only evidence

 of disruption presented by Cuyahoga County prosecutors at trial was phone calls made by Parma

 residents complaining about the Facebook Page’s affront to its officers, notifying the Department

 that the Facebook existed, or enquiring whether the Department authorized the Facebook Page.

 Compl. ¶ 147. These calls made up twelve minutes of total call time and were documented on

 April 5, 2016, over a week after Plaintiff was arrested and all the warrants had been executed.

 Compl. ¶ 148. After all evidence was presented and closing arguments concluded, the jury

 acquitted Plaintiff on August 11, 2016. Compl. ¶ 151.

        Plaintiff then brought the instant action asserting twenty-five claims against Officer

 Connor, twenty-six claims against Officer Riley, seven claims against the City, and one claim

 against Officer John Doe.

 II.    Legal Standard

        In reviewing a Rule 12(b)(6) motion to dismiss for failure to state a claim, a district court

 must accept as true all well-pleaded allegations and draw all reasonable inferences in favor of the

 non-moving party. Shoup v. Doyle, 974 F. Supp. 2d 1058, 1071 (S.D. Ohio 2013); Handy-Clay

 v. City of Memphis, Tenn., 695 F.3d 531, 538 (6th Cir. 2012). A court need not, however, credit


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 bald assertions, legal conclusions, or unwarranted inferences. Kavanagh v. Zwilling, 578 F.

 App’x 24, 24 (2d Cir. 2014) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007));

 see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        To survive a motion to dismiss, a complaint must include “enough facts to state a claim to

 relief that is plausible on its face,” and not merely “conceivable.” Twombly, 550 U.S. at 570.

 The factual allegations must be sufficient “to raise a right to relief above the speculative level.”

 Id. at 555. Although Rule 12(b)(6) does not impose a probability requirement at the pleading

 stage, a plaintiff must present enough facts to raise a reasonable expectation that discovery will

 reveal evidence of the necessary elements of a cause of action. Phillips v. County of Allegheny,

 515 F.3d 224, 234 (3d Cir. 2008) (quotation marks omitted). Simply reciting the elements of a

 cause of action does not suffice. Iqbal, 556 U.S. at 678.

 III.   Discussion

        A.      Qualified Immunity

        The Officer Defendants assert that Plaintiff cannot make a § 1983 claim against them in

 their individual capacities because they are entitled to qualified immunity. See Off. Mot. 2. To

 survive a motion to dismiss on qualified-immunity grounds, the plaintiff must allege facts that

 “plausibly mak[e] out a claim that the defendant’s conduct violated a constitutional right that was

 clearly established law at the time, such that a reasonable officer would have known that his

 conduct violated that right.” Courtright v. City of Battle Creek, 839 F.3d 513, 518 (6th Cir.

 2016) (quoting Johnson v. Moseley, 790 F.3d 649, 653 (6th Cir. 2015)). Although a qualified

 immunity issue should be resolved as early as possible, “it is generally inappropriate for a district

 court to grant a 12(b)(6) motion to dismiss on the basis of qualified immunity.” Wesley v.


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 Campbell, 779 F.3d 421, 433 (6th Cir. 2015). Whether an officer is entitled to qualified

 immunity is usually dependent on the facts of the case and cannot be determined at the pleadings

 stage. Oshop v. Tennessee Dep't of Children's Servs., No. 3:09-CV-0063, 2009 WL 1651479, at

 *7 (M.D. Tenn. June 10, 2009). Plaintiff pleaded sufficient facts to show that the Officer

 Defendants violated his First and Fourth Amendment rights and that those rights were clearly

 established. The fact that the Officer Defendants were apparently unable to provide proof at

 Plaintiff’s criminal trial of any disruption of police operations is a further reason why it is not

 appropriate to grant qualified immunity at this stage. Thus, the Court finds it premature to

 determine whether the Officer Defendants were entitled to qualified immunity.

        B.      First Amendment Retaliation Claims (Claims 1-6)

        Plaintiff has pleaded sufficient facts to establish each of his First Amendment retaliation

 claims. In order to succeed on a retaliation claim, a plaintiff must establish the following

 elements: “(1) that the plaintiff was engaged in a constitutionally protected activity; (2) that the

 defendant’s adverse action caused the plaintiff to suffer an injury that would likely chill a person

 of ordinary firmness from continuing to engage in that activity; and (3) that the adverse action

 was motivated at least in part as a response to the exercise of the plaintiff's constitutional rights.”

 Paige v. Coyner, 614 F.3d 273, 277 (6th Cir. 2010) (quoting Bloch v. Ribar, 156 F.3d 673, 678

 (6th Cir.1998)). The Officer Defendants present two arguments for why Plaintiff has failed to

 state a First Amendment retaliation claim: (1) Plaintiff had no First Amendment right to create

 the Facebook Page; and (2) if he did, that right was not clearly established. Off. Mot. 3, 8. The

 Court will address the Officer Defendants’ first argument below but their second argument

 merely restates their qualified immunity argument which the Court has determined is premature.


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        First, Plaintiff pleaded sufficient facts to establish that he was engaged in a

 constitutionally protected activity. He alleges that his Facebook Page was a parody. Compl. ¶¶

 45-54. Parody is a form of speech that is protected by the First Amendment. See Hustler

 Magazine, Inc. v. Falwell, 485 U.S. 46 (1988); accord Parks v. LaFace Records, 329 F.3d 437,

 456 (6th Cir. 2003) (“parody is an artistic form of expression protected by the First

 Amendment”). Parodies involve speech that cannot “reasonably be understood as describing

 actual facts about [the subject of the parody].” Hustler Magazine, Inc., 485 U.S. at 57. No

 reasonable person–whether police officer or Parma citizen–would believe that Plaintiff’s posts

 were describing actual facts about the Department (for example, that the Department was

 performing teen abortions using experimental techniques in a Wal-Mart parking lot). Despite the

 Defendants’ attempts to argue otherwise, it cannot be seriously contended that the Facebook Page

 was anything but a parody. Thus, Plaintiff was engaged in constitutionally protected speech.

        Next, Plaintiff alleges facts that would chill a person of extraordinary firmness–let alone

 ordinary firmness–from exercising his First Amendment rights. The Department immediately

 responded to the Facebook Page by issuing press releases announcing a criminal investigation.

 Compl. ¶ 92. This action alone would have had a chilling effect sufficient to state a retaliation

 claim. But announcing the criminal investigation (at which time, like any reasonable person

 would have done, Plaintiff immediately took down the Facebook Page) was only the beginning.

 Officer Defendants sought and executed numerous search warrants against Plaintiff. They sought

 an executed an arrest warrant against Plaintiff, charged him with a felony, and put him in

 Cuyahoga County jail. Compl. ¶ 108-09. They sought a grand jury indictment against Plaintiff

 and testified against him in a felony trial. Each of Defendants’ actions alone would chill a person


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 of ordinary firmness from exercising his First Amendment rights.

        Lastly, Plaintiff pleaded facts that show that the Officer Defendants’ actions were

 motivated by his constitutionally protected speech. The Defendants offer only one justification

 for their actions: Plaintiff disrupted police operations in violation of state law. But since the only

 evidence of “disruption” ever produced was a total of twelve minutes of calls made to the

 Department on March 2, 2016 (documented by the Department over a month later on April 5,

 2016), the officers’ motivation can certainly be called into question.

        Plaintiff alleges facts, which if proven, show that the Officer Defendants abused their

 police power to punish Plaintiff for exercising his First Amendment rights. Plaintiff had a

 constitutional right to his Facebook Page on March 2, 2016 and he still does today. Absent a

 significant disruption in police operations, Plaintiff cannot be harassed or prosecuted for his

 speech. The Court cannot dismiss Plaintiff’s retaliation claims.

        C.      Fourth Amendment Violation Claims (Claims 7-11)

        Plaintiff makes five claims of Fourth Amendment violations and the Officer Defendants

 moved to dismiss all five.

                1.      Wrongful Arrest, Unlawful Search, and Unlawful Seizure

        Plaintiff alleges that he was arrested, searched, and his property seized without probable

 cause. Compl. ¶¶ 219, 229, 237-38. The Officer Defendants argue that Plaintiff cannot establish

 any of these claims because they acted under search warrants issued by a magistrate. Off. Mot.

 13-17. “The right of the people to be secure in their persons, houses, papers, and effects, against

 unreasonable searches and seizures, shall not be violated, and no Warrants shall issue, but upon

 probable cause[.]” U.S. Const. amend. IV. Normally, a facially-valid warrant is a complete


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 defense to § 1983 claims of unlawful searches or seizures (including arrests). Id. However,

 “[p]olice officers cannot, in good faith, rely on a judicial determination of probable cause when

 that determination was premised on an officer’s own material misrepresentations to the court.”

 Gregory v. City of Louisville, 444 F.3d 725, 758 (6th Cir. 2006) (citation omitted); see also

 Ghaster v. City of Rocky River, 913 F. Supp. 2d 443, 473 (N.D. Ohio 2012) (“[A]n action

 pursuant to § 1983 lies against a police officer who obtains an invalid search warrant by making

 in his affidavit material false statements either knowingly or in reckless disregard for the truth.”).

        Plaintiff alleges that none of the warrants executed against him–whether arrest or search

 warrants–were supported by probable cause. None of the warrants or affidavits drafted by

 Officer Connor identified a single police function or service that was disrupted by Plaintiff. See,

 e.g., Compl. ¶ 102. The warrants also contained information that Officer Connor knew or should

 have known to be false including that the Facebook page purported to be the legitimate

 Department page, that Plaintiff purported to be a Department representative on the Facebook

 Page, and that Plaintiff altered or affected the Department’s official page. The warrant

 application stated only that Plaintiff created a fake Facebook account, purporting to be a

 legitimate Department page. Id. These facts are sufficient to make out a claim that the warrant

 was invalid, and that Officer Connors knew or should have known that. Typically, only the

 officer who made the arrest or signed the warrant affidavit can be liable for § 1983 claims under

 the Fourth Amendment. Schulz v. Gendregske, 544 F. App'x 620, 625 (6th Cir. 2013). But

 Plaintiff alleges that Officer Riley supervised Officer Connors in drafting and executing the

 warrants so Plaintiff has properly alleged claim for supervisor liability against Officer Riley for

 his Fourth Amendment violations. See § III, H.


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                2.      Property Retention

        Plaintiff next alleges that the Officer Defendants violated the Fourth Amendment by

 unlawfully retaining his property. But the Fourth Amendment does not protect against unlawful

 property retention. “[T]he Fourth Amendment protects an individual’s interest in retaining

 possession of property but not the interest in regaining possession of property.” Fox v. Van

 Oosterum, 176 F.3d 342, 351 (6th Cir. 1999). So that, “[o]nce that act of taking the property is

 complete, the seizure has ended and the Fourth Amendment no longer applies.” Id. Thus,

 Plaintiff cannot establish a claim for unlawful property retention under the Fourth Amendment

 because such a claim does not exist. Accordingly, the Court must dismiss Claim 10 of the

 Complaint.

                3.      Malicious Prosecution

        Plaintiff alleges that the Officer Defendants falsified evidence and submitted misleading

 investigative reports to establish probable cause for his criminal prosecution. Compl. ¶¶ 250-60.

 To support a claim of malicious prosecution, a plaintiff must establish that:

        (1) a criminal prosecution was initiated against the plaintiff and the defendant
        made, influenced, or participated in the decision to prosecute; (2) there was no
        probable cause for the criminal prosecution; (3) as a consequence of the legal
        proceeding, the plaintiff suffered a deprivation of liberty apart from the initial
        seizure; and (4) the criminal proceeding was resolved in the plaintiff's favor.

 Robertson v. Lucas, 753 F.3d 606, 616 (6th Cir. 2014). The Officer Defendants argue that

 Plaintiff does not plead sufficient facts to establish the first two elements of a malicious

 prosecution claim. Off. Mot. 11-13.

        The first element of a malicious prosecution claim requires a plaintiff to plead facts:

        giving rise to a reasonable inference that either of the defendant officers


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        ‘influenced or participated’ in the prosecutor’s decision to continue the
        prosecution after he or she had knowledge of facts that would have led any
        reasonable officer to conclude that probable cause had ceased to exist and that
        continuing the prosecution would be in violation of plaintiff’s clearly established
        constitutional rights.

 Johnson v. Moseley, 790 F.3d 649, 654 (6th Cir. 2015). Allegations that the officers testified for

 the prosecution and knowingly made false statements or failed to disclose evidence are sufficient

 to survive a motion to dismiss. Id. at 655. Plaintiff alleges that both Officer Defendants testified

 against Plaintiff at trial and falsified evidence. Compl. ¶¶ 141-44, 254. For example, Officer

 Riley testified at trial that he had grave concerns for officer safety and that disrupting protests

 would result from the Facebook Page. Compl. ¶ 143. Yet none of these concerns are listed in

 the warrant affidavits that Officer Riley approved. Compl. ¶ 144. These allegations are

 sufficient to establish the first element of a malicious prosecution claim.

        The second element of a malicious prosecution claim requires a plaintiff to establish lack

 of probable cause for his criminal prosecution. The Officer Defendants argue that because the

 Grand Jury charged Plaintiff with an indictment, probable cause existed for his prosecution.

 Off. Mot. 11-12. Previously, “the finding of an indictment, fair upon its face, by a properly

 constituted grand jury, conclusively determines the existence of probable cause” for a

 prosecution, defeating a malicious prosecution claim. Higgason v. Stephens, 288 F.3d 868, 877

 (6th Cir. 2002). However, the Supreme Court recently determined that no step in the legal

 process, including a grand jury indictment, can extinguish a person’s Fourth Amendment claim

 when the initial arrest was not based on probable cause. Manuel v. Joliet, 137 S.Ct. 911, 919

 (2017). Applying Manuel, the Sixth Circuit determined that the presumption of probable cause

 created by a grand jury indictment is rebuttable where: (1) an officer knowingly or recklessly


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 makes false statements in warrant affidavits or investigate reports; (2) these false statements are

 material to the plaintiff’s ultimate prosecution; and (3) the false statement do not consist solely

 on grand jury testimony. King v. Hardwood, 852 F.3d 568, 587-88 (6th Cir. 2017), cert. denied,

 2018 WL 311323 (Jan. 8, 2018). The Court already determined in § III(C)(1) that Plaintiff

 pleaded sufficient facts to show that Officer Connors knowingly made false statements in his

 warrant affidavits. These false statements were used to justify the City’s law director’s decision

 to file criminal charges against Plaintiff and are not grand jury testimony. Compl. ¶¶ 104-05.

 Thus, Plaintiff has pleaded sufficient facts to establish lack of probable cause for a malicious

 prosecution claim. Accordingly, the Court cannot dismiss Plaintiff’s malicious prosecution

 claim.

          D.     Municipal Liability Claims (Claims 12-14)

          “A municipality is liable for a constitutional violation when execution of the

 municipality’s policy or custom inflicts the alleged injury.” Jones v. City of Cincinnati, 521 F.3d

 555, 560 (6th Cir.2008) (citing Monell v. Dept. of Soc. Servs., 436 U.S. 658, 694 (1978)). “A

 plaintiff can make a showing of an illegal policy or custom by demonstrating one of the

 following: (1) the existence of an illegal official policy or legislative enactment; (2) that an

 official with final decision making authority ratified illegal actions; (3) the existence of a policy

 of inadequate training or supervision; or (4) the existence of a custom of tolerance or

 acquiescence of federal rights violations.” Burgess v. Fischer, 735 F.3d 462, 478 (6th Cir.2013).

 Plaintiff makes three § 1983 claims against the City: (1) the City’s law director and chief

 prosecutor authorized the Officer Defendants to seek and obtain the warrants (Claim 12); (2) he

 also authorized and implemented the unconstitutional policy of investigating and prosecuting


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 protected speech (Claim 13); and (3) the City failed to train its officers on clearly established

 First Amendment rights (Claim 14). Defendants moved to dismiss all three claims so the Court

 will address each in turn.

                1.      Authorized Action

        The City moved to dismiss Plaintiff’s claim that the City is liable for violations of his

 constitutional rights because the City’s law director and chief prosecutor authorized the Officer

 Defendants to seek and obtain the warrants against Plaintiff. Mot. 15. The City argues that its

 law director and prosecutor did not have final policymaking authority. Id. at 16. “In Ohio,

 prosecutors and sheriffs are officials responsible for establishing policy with respect to decisions

 to prosecute, charge, and arrest, and a political subdivision may be held liable pursuant to Monell

 for the decisions of those individuals.” Ghaster v. City of Rocky River, 913 F. Supp. 2d 443, 470

 (N.D. Ohio 2012) (citing Pembaur v. City of Cincinnati, 475 U.S. 469, 483-84 (1986)).

 Accordingly, the City’s argument is without merit.

                2.      Unconstitutional Policy

        Plaintiff alleges that the City had an illegal policy of criminally investigating and

 prosecuting protected speech. The City argues that Plaintiff’s claim fails because he cannot show

 examples of past situations. But Plaintiff is only required to allege facts, “which if true,

 demonstrate the City’s policy[.]” Williams v. City of Cleveland, No. 1:09-cv-1310, 2009 WL

 2151778, *4 (N.D. Ohio July 16, 2009). Showing examples of past situations involving similar

 conduct is only one way to show an unconstitutional policy. Nevertheless, Plaintiff does allege

 other instances where the City prosecuted protected speech or disregarded its citizens First

 Amendment rights. See Compl. ¶ 278-80. Thus, Plaintiff’s claim is sufficient to survive a


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 motion to dismiss.

                3.      Failure to Train

          The inadequacy of police training only serves as a basis for § 1983 liability “where the

 failure to train amounts to deliberate indifference to the rights of persons with whom the police

 come into contact.” Slusher v. Carson, 540 F.3d 449, 457 (6th Cir. 2008) (quoting City of

 Canton v. Harris, 489 U.S. 378, 388 (1989)). “To establish deliberate indifference, the plaintiff

 ‘must show prior instances of unconstitutional conduct demonstrating that the County has

 ignored a history of abuse and was clearly on notice that the training in this particular area was

 deficient and likely to cause injury.’” St. John v. Hickey, 411 F.3d 762, 776 (6th Cir.2005)

 (quoting Fisher v. Harden, 398 F.3d 837, 849 (6th Cir.2005)). Plaintiff alleges that the City

 showed deliberate indifference by failing to adequately train its officers on clearly established

 First Amendment rights. Compl. ¶ 277. Plaintiff cites to a 2001 Ohio Supreme Court case

 vacating obstructing official business criminal convictions and instances where the City’s law

 director acknowledged the City’s duty to train. Compl. ¶¶ 278-81. Plaintiff further alleges that

 the Officer Defendants were last trained on First Amendment rights nearly twenty years ago.

 Compl. ¶ 281-82. The City argues that Plaintiff’s claim fails because he does not allege that City

 officials knew of a history of training problems or were on notice that training was deficient.

 Mot. 15. But taking Plaintiff’s allegations as true–as the Court must do on a motion to

 dismiss–the City’s failure to update or supplement its training of its officers on First Amendment

 rights for over twenty years does tend to show deliberate indifference.

        E.      Conspiracy to Violate Civil Rights (Claim 15)

        Plaintiff claims that the Officer Defendants conspired with John Doe to violate his


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 constitutional rights. Compl. ¶¶ 288-92. The Officer Defendants argue that Plaintiff’s

 conspiracy claim fails because he does not allege any racial motivation, which they argue is

 required to plead a claim for civil conspiracy. Off. Mot. 17. But, as they concede, racial

 motivation is only required to establish a § 1985(3) claim for civil conspiracy; the same is not

 required for a § 1983 conspiracy claim. While Plaintiff mistakenly cites 42 U.S.C. § 1985(3), he

 clearly makes a § 1983 conspiracy claim against the Officer Defendants and John Doe.

 Accordingly, the Court cannot dismiss Plaintiff’s civil conspiracy claim.

         F.     Federal Privacy Protection Act Claim (Claim 16)

         Title 42 U.S.C. § 2000aa(a) of the Federal Privacy Protection Act (the “Act”) provides

 that:

         Notwithstanding any other law, it shall be unlawful for a government officer or
         employee, in connection with the investigation or prosecution of a criminal
         offense, to search for or seize any work product materials possessed by a person
         reasonably believed to have a purpose to disseminate to the public a newspaper,
         book, broadcast, or other similar form of public communication, in or affecting
         interstate or foreign commerce[.]

 Subsection (b) similarly applies to documentary materials. 42 U.S.C. § 2000aa(b). The

 Defendants argue that the Act’s “suspect exception” prevents Plaintiff from making a claim

 under the Act because the Officer Defendants had probable cause. Mot. 17. The Act does not

 apply if the government officers or employees have “probable cause to believe that the person

 possessing such materials has committed or is committing the criminal offense to which the

 materials relate[.]” 42 U.S.C. §§ 2000aa(a)(1) & (b)(1). As the Court already determined,

 Plaintiff adequately pleaded facts that show that probable cause did not exist for the search and

 seizure of his property, including the electronic devices he used to post his Facebook Page. The



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 Defendants also argue that Plaintiff’s Facebook Page does not affect “interstate or foreign

 commerce” and therefore cannot fall under the Act’s protection. Mot. 18. The Defendants do

 not cite any legal authority as to why a Facebook Page would not affect interstate commerce,

 particularly when Facebook has over 1 billion users worldwide and millions of users across the

 United States. Further, the Sixth Circuit has long recognized that the Internet is a means of

 interstate commerce. United States v. Fuller, 77 F. App’x. 371, 379 (6th Cir. 2003).

 Accordingly, the Court cannot dismiss Plaintiff’s Federal Privacy Protection Act claim.

        G.      O.R.C. § 2909.04(B) (Claims 17 and 18)

        Plaintiff claims that O.R.C. § 2909.04(B) is unconstitutionally vague and overbroad.

 Compl. ¶¶ 302-12. The statute states that:

        No person shall knowingly use any computer, computer system, computer
        network, telecommunications device, or other electronic device or system or the
        internet so as to disrupt, interrupt, or impair the functions of any police, fire,
        educational, commercial, or governmental operations.

 O.R.C. § 2909.04(B). Violating § 2909.04(B) is a felony of the fourth degree.

 O.R.C. § 2909.04(C). Federal courts are obligated not to “decide questions of a constitutional

 nature unless absolutely necessary to a decision of the case.” Ashwander v. Tennessee Valley

 Authority, 297 U.S. 288, 347 (1936) (Brandeis, J., concurring). “State legislators swear to

 uphold the state and federal constitutions” and “a presumption of constitutionality accompanies

 their enactments.” Citizens in Charge, Inc. v. Husted, 810 F.3d 437, 441 (6th Cir. 2016)

 (citations omitted). The Court finds it unnecessary in this case to address Plaintiff’s

 constitutional challenges because the heart of Plaintiff’s case is that the Officer Defendants

 misused the law to punish Plaintiff for his speech, not that the law itself was unconstitutional.



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 The Officer Defendants justified their actions and warrant applications by claiming that the

 Facebook Page disrupted police operations. But Plaintiff claims that they were unable to present

 any evidence at trial that would rise to the level of disruption under O.R.C. § 2909.04(B). Thus,

 Plaintiff’s claim is that the Officer Defendants misused the law, knowing that they did not have

 sufficient evidence to prove a violation. Plaintiff’s Claims 17 and 18 are dismissed without

 prejudice.

        H.      Supervisor Liability (Claim 18a)

        Plaintiff alleges that Defendant Riley is liable for Defendant Connor’s constitutional

 violations through supervisor liability. Compl. ¶¶ 313-14. Supervisor liability under § 1983

 cannot be based on respondeat superior, the right to control employees, or on awareness of

 employee misconduct. McQueen v. Beecher Cmty. Sch., 433 F.3d 460, 470 (6th Cir. 2006)

 (citations omitted). “[A] supervisory official’s failure to supervise, control or train the offending

 individual is not actionable unless the supervisor ‘either encouraged the specific incident of

 misconduct or in some other way directly participated in it.’” Id. (citation omitted). “At a

 minimum a plaintiff must show that the official at least implicitly authorized, approved, or

 knowingly acquiesced in the unconstitutional conduct of the offending officers.” Shehee v.

 Luttrell, 199 F.3d 295, 300 (6th Cir. 1999). Plaintiff alleges that Officer Riley assigned Officer

 Connor to the case and directed him to obtain and execute the warrants against Plaintiff, knowing

 that doing so violated Plaintiff’s First Amendment rights. See, e.g., Compl. ¶¶ 69, 99-100, 116.

 These allegations are sufficient to support a claim for supervisor liability and therefore cannot be

 dismissed.




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        I.      State Law Claims (Claims 19-29)

        Plaintiff alleges ten violations of state law against the Officer Defendants including: (1) a

 false writings claim under O.R.C § 2921.03(C), (2) seven claims for civil liability from criminal

 acts pursuant to O.R.C § 2307.60, (3) a malicious prosecution claim, and (4) a tortious

 interference with contract claim. Compl. ¶¶ 315-75. The Officer Defendants do not argue the

 elements of each claim; rather, they maintain that they are immune from liability under Ohio’s

 Political Subdivision Tort Liability Act, O.R.C § 2744.01, et seq. O.R.C § 2744.03(A)(6)

 extends immunity from tort liability to police officers unless: (1) they act outside the scope of

 their employment; (2) they act with malicious purpose, in bad faith, or in wanton or reckless

 manner; or (3) a statute expressly provides for civil liability. O.R.C § 2744.03(A)(6). Whether

 an officer’s behavior falls within one of these exceptions is typically a question of fact for the

 jury. Galloway v. Chesapeake Union Exempted Vill. Sch. Bd. of Educ., No. 1:11-CV-850, 2012

 WL 5268946, at *10 (S.D. Ohio Oct. 23, 2012). To grant a motion to dismiss under §

 2744.03(A)(6), the pleadings must be “devoid of evidence tending to show that the [officers]

 acted wantonly or recklessly.” Id. (quoting Irving v. Austin, 741 N.E.2d 931, 934 (Ohio Ct. App.

 2000)). Plaintiff has alleged sufficient facts that the Officer Defendants’ conduct was in bad

 faith, wanton, or reckless. Thus, O.R.C § 2744.03(A)(6) does not immunize them from liability

 and these claims cannot be dismissed.

        Plaintiff alleges his final state law claim against the City for replevin. Compl. ¶¶ 376-81.

 He alleges that the City seized his property, including his cell phone and laptop, but did not

 return them to him after he was acquitted at trial of the criminal charge. Id. at ¶¶ 377-78. The

 City states that, after the instant complaint was filed, it returned Plaintiff’s belongings to him.


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 Mot. 19. Plaintiff does not dispute this. Thus, Plaintiff’s replevin claim is moot and Count 29

 must be dismissed.

 IV.    Conclusion

        For the foregoing reasons, Plaintiff’s Claims 10 (Property Retention) and 29 (Replevin)

 are DISMISSED WITH PREJUDICE. Claims 17 (Unconstitutionally Vague and Overbroad)

 and 18 (Unconstitutional As Applied) are DISMISSED WITHOUT PREJUDICE. His

 remaining twenty-six claims may proceed. Accordingly, the Motions are GRANTED in part

 and DENIED in part.

        IT IS SO ORDERED.

                                                      /s/ Dan A. Polster Apr. 5, 2018
                                                      DAN AARON POLSTER
                                                      UNITED STATES DISTRICT JUDGE




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